Case 2:05-cr-20046-.]PI\/| Document 27 Filed 07/07/05 Page 1 of 2 Page|D 35

IN THE UNITEI) sTATEs DISTRICT coURT w B" wig- '°'¢~
FoR THE wEsTERN DISTRICT oF TENNESSEE 05 JUL '__, m as he

WESTERN DIVISION
mass it scm
u.s. assn m team
UNITED STATES OF AMERICA, ) W 051 t,\=_ §YtD\MS
)
Plaintiff, ) Criminal No. 2:05-CR20046-01M1
vs. )
)
CARLOUS BENTON, ) 18 U.S.C. § 922(g)
afk/a, CARLOS BENTON, )
Defendant. )

 

ORDER DISMISSING COUNT TWO AND COUNT THREE OF INDICTMEN'I`

 

Upon consideration of the motion of the United States Attomey’s Office, by and through
Special Assistant United States Attorney, E. Greg Gil]uly, Jr., and for good cause shown, the court
hereby grants the government’s motion to dismiss Count TWo and Count Three of indictment 05-

20046, returned against Carlous Benton, afk/a Carlos Benton.

Entered this 7 day of July, 2005.

.~QmQ_QQ

P McCalla
Jnited States District Judge

Thls document entered on the docket sheet ln compliance

with ama ss and/or azib) mch on _’7___,_3_____.

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This notice confirms a copy of the document docketed as number 27 in
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EYHCESSEE

 

E. Grcg Gilluly

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Honorablc J on McCalla
US DISTRICT COURT

